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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                      NORTHERN DIVISION

JOHN TYLER McKINNEY, Jr.,
                                                                No. 07-CR-20526
         Petitioner,                                            Honorable Thomas L. Ludington

v.

UNITED STATES OF AMERICA,

      Respondent.
_____________________________/

                        ORDER DIRECTING SUPPLEMENTAL BRIEFING

         Petitioner John Tyler McKinney, Jr. pleaded guilty to distributing 5 or more grams of

crack cocaine. He was sentenced to the statutory minimum, 120 months’ imprisonment. The

Sixth Circuit affirmed the conviction and sentence via order dated February 26, 2010. ECF No.

100. The mandate issued on March 22, 2010. ECF No. 101. Petitioner, it appears, did not seek

rehearing from the court of appeals or a writ of certiorari from the United States Supreme Court.

A little more than 20 months passed.

         On January 3, 2012, Petitioner filed a motion to vacate his sentence pursuant to 28 U.S.C.

§ 2255. That section contains a one-year statute of limitations, which begins to run on the date

the judgment of conviction becomes final.                 § 2255(f)(1).       When a criminal defendant has

appealed to the court of appeals, but not sought a writ of certiorari from the Supreme Court, the

limitation period begins to run when the time for seeking such review expires (90 days after the

court of appeals entered its judgment or 69 days after the court of appeals issued its mandate1).

Clay v. United States, 537 U.S. 522, 525 (2003).


         1
          Sup. Ct. R. 13(1) (noting a petition for a writ of certiorari to the Supreme Court “is timely when it is filed
with the Clerk of this Court within 90 days after entry of the judgment”); Fed. R. App. P. 40, 41(b) (instructing that
when no petition for rehearing is filed, a court of appeals’ mandate issues 21 days after the entry of judgment).
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        For Petitioner, these deadlines meant that the motion must have been filed in this Court

no later than May 30, 2011 (one year and 69 days after the mandate was issued). Petitioner’s

motion, as noted, was not filed until January 3, 2012. The government, however, did not address

the statute of limitations issue in its response to Petitioner’s motion — apart from a single line in

its statement of facts that the motion was “timely.”

        The motion was referred to Magistrate Judge Charles Binder for report and

recommendation. Judge Binder then issued his report recommending that the Court dismiss the

motion as time-barred. Petitioner objected, asserting that a court may not sua sponte raise the

statute of limitations issue when the government has not in its response to the motion.

        The Supreme Court, however, disagrees with Petitioner’s assertion. Day v. McDonough,

547 U.S. 198, 209 (2006). In Day, the Court established that district courts have the authority to

sua sponte raise the timeliness of a habeas petition, even when the government has not in its

response to the petition. Id. “Of course,” the Supreme Court cautions, “before acting on its own

initiative, a court must accord the parties fair notice and an opportunity to present their

positions.” Id. at 210.2

        Here, Petitioner has filed a document entitled “motion pursuant to Rule 15(C)(2)”

asserting that the government has in fact waived the statute of limitations defense. ECF No. 138.

It is not clear from the present record, however, whether the government has affirmatively

waived that defense, nor whether Petitioner may be entitled to equitable tolling. Consequently,

the parties will be directed to provide supplemental briefing on, among other things, whether the

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           Day, it must be acknowledged, addressed a § 2254 petition rather than a § 2255 motion. The Sixth
Circuit, however, has found that this is a distinction without a difference. Taylor v. United States, 11-6015, 2013
WL 1188988, at *1 (6th Cir. Mar. 22, 2013) (per curiam); see also Solomon v. United States, 467 F.3d 928, 943 (6th
Cir. 2006) (Griffin, J., dissenting).

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motion was timely filed, whether the statute of limitations has been waived, and whether

equitable tolling should apply.3

        Accordingly, it is ORDERED that the government must file a supplemental brief of no

more than 10 pages on or before June 17, 2013. The brief must address: (1) whether the § 2255

motion was timely filed; (2) whether the government has waived the statute of limitations

defense; and (3) whether the court should enforce the time bar despite the government not raising

it as a defense in its answer.

        It is further ORDERED that Petitioner must file a response brief of no more than 10

pages on or before July 1, 2013. The brief must address: (1) whether the § 2255 motion was

timely filed; (2) whether equitable tolling should apply; and (3) whether the court should enforce

the time bar despite the prosecution not raising it as a defense in its answer.

        It is further ORDERED that the government must file a reply brief of no more than 5

pages on or before July 8, 2013. The brief must address Petitioner’s arguments regarding

equitable tolling, if any.

                                                     s/Thomas L. Ludington
                                                     THOMAS L. LUDINGTON
                                                     United States District Judge
Dated: June 3, 2013




        3
           In passing, the Court notes that Petitioner has also filed a motion for the appointment of counsel. ECF
No. 134. “There is no constitutional right to counsel in a civil case.” Cleary v. Mukasky, 307 F. App’x 963, 965
(6th Cir .2009) (citing Lanier v. Bryant, 332 F.3d 999, 1006 (6th Cir.2003)). Moreover, the Sixth Circuit cautions
that “[c]ourts should request counsel for pro se civil plaintiffs only in exceptional circumstances.” Cleary, 307 F.
App’x at 965 (quoting Lavado v. Keohane, 992 F.2d 601, 605 (6th Cir.1993)). Here, Petitioner has not
demonstrated such exceptional circumstances at present. Appointment of counsel is not appropriate at this juncture.
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                                                PROOF OF SERVICE

                   The undersigned certifies that a copy of the foregoing order was served upon each
                   attorney of record herein by electronic means and upon John Tyler McKinney, Jr,
                   #41867039 at Elkton Federal Correctional Institution, Inmate Mail/Parcels, P.O.
                   Box 10, Lisbon, OH 44432 by first class U.S. mail on June 4, 2013.

                                                    s/Tracy A. Jacobs
                                                    TRACY A. JACOBS




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